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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

In Re: Oil Spill by the OIL RIG             )       MDL. NO. 2179
       “DEEPWATER HORIZON”in                )
       the GULF OF MEXICO, on               )
       APRIL 20, 2010                       )
                                            )       SECTION: J
                                            )
                                            )       JUDGE BARBIER
                                            )       MAG. JUDGE SHUSHAN
__________________________________


                                           ORDER

       Considering the Motion of the Claimants / Plaintiffs to Dismiss with Prejudice Pursuant to

Rule 41(a)(2):

       IT IS HEREBY ORDERED that all claims of the following Claimants / Plaintiffs are

dismissed with Prejudice.

       Document No.                 Cause No.                     Plaintiff/Claimant

       1.        49835               CA-10-8888            Forrest Daniell & Associates, P.C.

       2.        48557              CA-10-8888             Joseph & Sharon Remski

       3.        48606               CA-10-8888            James & Angela Perry

       4.        51604              CA-10-8888             Ronald Nelson Cantrell

       5.        52661               CA-10-8888            RWT Strategies, LLC

       6.        48238               CA-10-8888            James & Joan Loock

       7.        48300              CA-10-8888             John Dennis Cobb

       8.        48522              CA-10-8888             Calvin Spurlin & Vasile Dragu

       9.        52700               CA-10-8888            Walter & Theo Barron

       10.       52665              CA-10-8888             Sanibel 1503, LLC




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       11.    48645                  CA-10-8888            Adrian & Daniela Purza

       12.    48295                  CA-10-8888            Robert Ross Craig


New Orleans, Louisiana, this the ___ day of ___________, 2011.


                      ________________________________________
                      UNITED STATES DISTRICT COURT JUDGE




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